                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                      )
                                                )
               Plaintiff,                       )
                                                )
 v.                                             )       No.:   3:15-CR-56-TAV-CCS
                                                )
 AURORA CARVAJAL and                            )
 LUIS CARVAJAL,                                 )
                                                )
               Defendants.                      )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on third-party petitioners’ application for

 interest in property [Doc. 202], and the government’s motion to dismiss third-party

 petitioners’ application [Doc. 299].     Third-party petitioners did not respond to the

 government’s motion, and their time in which to do so has passed. E.D. Tenn. L.R. 7.1.

        On September 1, 2015, defendants Aurora Carvajal and Luis Carvajal were

 charged with conspiracy to commit money laundering, among other charges, in violation

 of 18 U.S.C. § 1956(h) [Doc. 84]. Subsequently, the Court entered an agreed order of

 forfeiture for Aurora Carvajal [Doc. 181] and Luis Carvajal [Doc. 190], forfeiting their

 interest in certain real property located at 3360 Davis Ferry Road, Loudon, Tennessee,

 37774. As required by 21 U.S.C. § 853(n) and Rule 32.2(b) of the Federal Rules of

 Criminal Procedure, the government sent notice to all parties known to have a possible

 interest in this property, and also published notice of the forfeiture, including publication




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 on the internet on a government operated website for at least thirty (30) consecutive days

 [Doc. 300 pp. 2–3].

        On July 19, 2016, Joseph H. Lee and Maria Lee (hereinafter “petitioners”) filed an

 application for interest in the real property [Doc. 202]. The government moved to

 dismiss the application, arguing that petitioners’ application should be dismissed because

 petitioners failed to meet the requirements of 21 U.S.C. §§ 853(n)(3) and (n)(6) [Doc.

 299]. Because the Court finds that petitioners failed to meet the requirements of 21

 U.S.C. § 853(n)(3), it need not determine whether 21 U.S.C. § 853(n)(6) is satisfied.

        In order to submit a valid third-party claim, a petitioner must comply with 21

 U.S.C. § 853(n)(3), which mandates that a petitioner “set forth the nature and extent of

 the petitioner’s right, title, or interest in the property, the time and circumstances of the

 petitioner’s acquisition of the right, title, or interest in the property, any additional facts . .

 . and the relief sought.” 21 U.S.C. § 853(n)(3). “Federal courts require strict compliance

 with the pleading requirements of § 853(n)(3), primarily because there is a substantial

 danger of false claims in forfeiture proceedings.” United States v. Burge, 829 F. Supp. 2d

 664, 667 (C.D. Ill. 2011).

        In this case, petitioners’ application states only that the petitioners would like to

 submit an application for interest in the relevant property, and provides no detail as to any

 purported interest in the property [Doc. 202]. Thus, petitioners do not set forth the

 “nature and extent of the . . . right, title, or interest in the property,” or “the time and

 circumstances of [their] acquisition of the right, title, or interest in the property.” 21

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 U.S.C. § 853(n)(3). As such, petitioners’ application fails to meet the requirements of §

 853(n)(3). Therefore, the Court will dismiss the application for failing to comply with

 the requirements of § 853(n)(3). See United States v. Kokko, No. 06-20065-CR, 2007

 WL 2209260, at *5 (S.D. Fla. July 30, 2007) (“Failure to file a petition that satisfies the

 requirements of § 853(n)(3) is grounds for dismissal without a hearing.”).

       In sum, the government’s Motion to Dismiss Third-Party Petitioners’ claim [Doc.

 299] is GRANTED, and petitioners’ Application for Interest in Property [Doc. 202] is

 DISMISSED.

       IT IS SO ORDERED.


                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




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